     Case: 1:17-cv-01179 Document #: 15 Filed: 06/28/17 Page 1 of 1 PageID #:31

                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

James McKnight
                                          Plaintiff,
v.                                                         Case No.: 1:17−cv−01179
                                                           Honorable Manish S. Shah
Allbright Construction, LLC, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 28, 2017:


        MINUTE entry before the Honorable Manish S. Shah: The parties have filed a
stipulation of dismissal pursuant to a settlement agreement. The court cannot dismiss a
case with prejudice and retain jurisdiction, therefore, pursuant to settlement, this case is
dismissed without prejudice with leave to reinstate if the terms of the settlement
agreement have not been completed by 6/28/2018. If no motion to reinstate has been filed
by 6/28/2018, the dismissal will automatically convert to a dismissal with prejudice.
Terminate civil case. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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